






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-10-00064-CV






Clayton Wayne Blaschke


v.


Amy Leigh Blaschke






FROM THE DISTRICT COURT OF HAYS COUNTY, 428TH JUDICIAL DISTRICT

NO. 09-1575, HONORABLE WILLIAM HENRY, JUDGE PRESIDING




M E M O R A N D U M   O P I N I O N



		Clayton Wayne Blaschke filed a notice of appeal from the order terminating
his&nbsp;parental rights.  Because the notice of appeal was filed untimely, we lack jurisdiction and
dismiss&nbsp;this appeal.

		An appeal from an order terminating the parent-child relationship is an accelerated
appeal.  Tex. Fam. Code Ann. § 263.405(a), (c) (West 2008).  The notice of appeal in an accelerated
case is due to be filed no more than 20 days after the trial court signs the judgment.  Tex. R. App.
P. 26.1(b).  The filing of post-judgment motions will not extend the time to file a notice of appeal.
Tex. R. App. P. 28.1(b).  The time for filing a notice of appeal in an accelerated case can be extended
by 15 days upon timely motion.  Tex. R. App. P. 26.3, 28.1(b).  Thus, a notice of appeal from a
judgment terminating parental rights must be filed no later than 35 days after the judgment is signed.

		The judgment terminating appellant's parental rights was signed October 28, 2009.
The notice of appeal was filed February 3, 2010.  The notice of appeal in this case was filed 98 days
after the judgment terminating parental rights was signed, which is beyond the maximum period
allowed.  Under these facts, appellant did not timely invoke this Court's jurisdiction.

		Appellant filed a motion to extend time to file the notice of appeal, but did not
present&nbsp;grounds on which this Court could grant the relief requested.  This Court's clerk sent a letter
describing these apparent circumstances, and requested a response explaining how this Court might
properly exercise jurisdiction.  No response has been filed.

		Appellant's Motion to Extend Time to File Notice of Appeal is denied.  This appeal
is dismissed for want of jurisdiction.  See Tex. R. App. P. 42.3(a).



						                                                                                    

						G. Alan Waldrop, Justice

Before Chief Justice Jones, Justices Pemberton and Waldrop

Dismissed for Want of Jurisdiction

Filed:   March 31, 2010


